      Case 4:19-cv-07123-PJH       Document 422   Filed 10/11/24    Page 1 of 33




     Greg D. Andres
 1
     Antonio J. Perez-Marques
 2   Craig T. Cagney
     Gina Cora
 3   Luca Marzorati
       (admitted pro hac vice)
 4   DAVIS POLK & WARDWELL LLP
     450 Lexington Avenue
 5
     New York, New York 10017
 6   Telephone: (212) 450-4000
     Facsimile: (212) 701-5800
 7   Email: greg.andres@davispolk.com
              antonio.perez@davispolk.com
 8            craig.cagney@davispolk.com
              gina.cora@davispolk.com
 9
              luca.marzorati@davispolk.com
10
     Micah G. Block (SBN 270712)
11   DAVIS POLK & WARDWELL LLP
     1600 El Camino Real
12   Menlo Park, California 94025
     Telephone: (650) 752-2000
13   Facsimile: (650) 752-2111
     Email: micah.block@davispolk.com
14

15   Attorneys for Plaintiffs
     WhatsApp LLC and Meta Platforms, Inc.
16
                                UNITED STATES DISTRICT COURT
17

18                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

19                                     OAKLAND DIVISION

20
      WHATSAPP LLC and                  )         Case No. 4:19-cv-07123-PJH
21    META PLATFORMS, INC., a Delaware  )
22    corporation,                      )
                                        )         PLAINTIFFS’ MEMORANDUM OF
23                    Plaintiffs,       )         POINTS AND AUTHORITIES IN
                                        )         OPPOSITION TO DEFENDANTS’
24           v.                         )         MOTION FOR SUMMARY JUDGMENT
                                        )         OR PARTIAL SUMMARY JUDGMENT
25    NSO GROUP TECHNOLOGIES LIMITED )
26    and Q CYBER TECHNOLOGIES LIMITED, )           Date: November 7, 2024
                                        )           Time: 1:30 p.m.
27                    Defendants.       )           Ctrm: 3
                                        )           Judge: Hon. Phyllis J. Hamilton
28                                      )           Action Filed: October 29, 2019

                                      [REDACTED VERSION]
       Case 4:19-cv-07123-PJH                       Document 422                 Filed 10/11/24               Page 2 of 33




                                                          TABLE OF CONTENTS
 1
                                                                                                                                                PAGE
 2

 3   BACKGROUND .................................................................................................................................2

 4   LEGAL STANDARD ..........................................................................................................................3

 5   ARGUMENT .......................................................................................................................................4

 6             I. NSO IS SUBJECT TO PERSONAL JURISDICTION ........................................................4

 7                        A.         NSO Consented to Jurisdiction ........................................................................4

 8                        B.         NSO Purposefully Directed Its Conduct at Plaintiffs’ Servers ........................5

 9                        C.         NSO Purposefully Availed Itself of Doing Business in California ...............10

10                                   1.         NSO Leased and Used a California Server for Its Customers ...........11

11                                   2.         NSO Attempted to Create a Market for Its Spyware in California ....12

12                                   3.         Plaintiffs’ Claims Arise from NSO’s Business Activities in
                                                California ...........................................................................................16
13
               II.        NSO IS LIABLE FOR PEGASUS AND ITS USE ...................................................16
14
                          A.         NSO Is Liable for Its Own Conduct ..............................................................16
15
                          B.         The Identity of NSO’s Customers Provides No Defense...............................18
16
               III.       NSO IS LIABLE ON PLAINTIFFS’ CFAA CLAIMS .............................................20
17
                          A.         Discovery Confirms NSO Accessed WhatsApp’s Servers Without
18                                   Authorization .................................................................................................21

19                        B.         This Court Can Still Consider Plaintiffs’ Without Authorization Theory .....22

20                        C.         NSO Exceeded Any Purported Authorization ...............................................23

21                        D.         NSO Cannot Evade Liability Based on a “Law Enforcement Defense” .......24

22             IV.        NSO IS LIABLE ON PLAINTIFFS’ CDAFA CLAIM ............................................25

23   CONCLUSION ..................................................................................................................................25

24

25

26

27

28
                                                        i
     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT OR PARTIAL SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
       Case 4:19-cv-07123-PJH                       Document 422                Filed 10/11/24              Page 3 of 33




                                                      TABLE OF AUTHORITIES
 1

 2                                                                     CASES
                                                                                                                                        PAGE(S)
 3
     Abu v. Dickson,
 4
       107 F.4th 508 (6th Cir. 2024) ..................................................................................................... 23
 5
     In re Apple Inc. Device Performance Litig.,
 6       347 F. Supp. 3d 434 (N.D. Cal. 2018) ......................................................................................... 18

 7   Asahi Metal Indus. Co. v. Superior Ct. of California, Solano Cnty.,
        480 U.S. 102 (1987)..................................................................................................................... 14
 8
     AWR Corp. v. ZTE, Corp.,
 9     2011 WL 13217534 (C.D. Cal. June 13, 2011) ............................................................................ 5

10   Axiom Foods, Inc. v. Acerchem Int’l, Inc.,
        874 F.3d 1064 (9th Cir. 2017) ............................................................................................. 4, 6, 10
11
     Ayla, LLC v. Alya Skin Pty. Ltd.,
12      11 F.4th 972 (9th Cir. 2021) ........................................................................................................ 16
13   Berkeley Lights, Inc. v. AbCellera Biologics Inc.,
        2021 WL 4497874 (N.D. Cal. Jan. 29, 2021) .............................................................................. 12
14
     Bluestar Genomics v. Song,
15
        2023 WL 4843994 (N.D. Cal. May 25, 2023) ............................................................................ 13
16   Carefirst of Maryland, Inc. v. Carefirst Pregnancy Centers, Inc.,
17     334 F.3d 390 (4th Cir. 2003) ....................................................................................................... 12

18   Celotex Corp. v. Catrett,
        477 U.S. 317 (1986)....................................................................................................................... 3
19
     Chronic Tacos Enterprises, Inc. v. Chronic Tacos Huntington Beach, Inc.,
20     2011 WL 6010265 (C.D. Cal. Nov. 28, 2011) ............................................................................ 22

21   City & Cnty. of San Francisco v. Purdue Pharma L.P.,
        491 F. Supp. 3d 610 (N.D. Cal. 2020) ......................................................................................... 15
22
     City of Los Angeles v. Bank of Am. Corp.,
23      2015 WL 4880511 (C.D. Cal. May 11, 2015) ............................................................................. 22
24   Credit Suisse v. U.S. Dist. Court,
        130 F.3d 1342 (9th Cir. 1997) ..................................................................................................... 19
25
     Daewoo Elecs. Am., Inc. v. Opta Corp.,
26     875 F.3d 1241 (9th Cir. 2017) ..................................................................................................... 15
27   DBSI, Inc. v. Oates,
28     2020 WL 5517305 (D. Ariz. Sept. 14, 2020) ................................................................................ 9
                                                        ii
     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT OR PARTIAL SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
       Case 4:19-cv-07123-PJH                      Document 422                Filed 10/11/24             Page 4 of 33




     Desertrain v. City of Los Angeles,
 1
       754 F.3d 1147 (9th Cir. 2014) ..................................................................................................... 23
 2   Dorchester Fin. Sec., Inc. v. Banco BRJ, S.A.,
 3     722 F.3d 81 (2d Cir. 2013) ............................................................................................................ 4

 4   Du Daobin v. Cisco Systems, Inc.,
       2 F.Supp.3d 717 (D.D.C. 2014) .................................................................................................. 20
 5
     E3 Innovation Inc. v. DCL Techs. Inc.,
 6      2021 WL 5741442 (D. Ariz. Dec. 2, 2021) ................................................................................... 7

 7   Facebook, Inc. v. ConnectU LLC,
       2007 WL 2326090 (N.D. Cal. Aug. 13, 2007) .............................................................................. 9
 8
     Facebook, Inc. v. Power Ventures, Inc.,
 9     844 F.3d 1058 (9th Cir. 2016) ..................................................................................................... 22
10   Facebook, Inc. v. Rankwave Co.,
       2019 WL 8895237 (N.D. Cal. Nov. 14, 2019) ........................................................................ 9, 10
11
     Facebook, Inc. v. Sahinturk,
12     2022 WL 1304471 (N.D. Cal. May 2, 2022) ................................................................................. 7
13   Ford Motor Co. v. Montana Eighth Jud. Dist. Ct.,
14      592 U.S. 351 (2021)........................................................................................................... 8, 11, 16

15   Ghazizadeh v. Coursera, Inc.,
       2024 WL 3455255 (N.D. Cal. June 20, 2024) ............................................................................... 5
16
     Glencore Grain Rotterdam B.V. v. Shivnath Rai Harnarain Co.,
17      284 F.3d 1114 (9th Cir. 2002) ..................................................................................................... 10

18   Good Job Games Bilism Yazilim Ve Pazarlama A.S. v. SayGames LLC,
       458 F. Supp. 3d 1202 (N.D. Cal. 2020) ....................................................................................... 10
19
     Good Job Games Bilism Yazilim Ve Pazarlama A.S. v. SayGames LLC,
20     2021 WL 5861279 (9th Cir. Dec. 10, 2021) ............................................................................... 10
21   GreatFence.com, Inc. v. Bailey,
       726 F. App’x 260 (5th Cir. 2018) .................................................................................................. 7
22
     Hanson v. Denckla,
23     357 U.S. 235 (1958)..................................................................................................................... 11
24   hiQ Labs, Inc. v. LinkedIn Corp.,
25      31 F.4th 1180 (9th Cir. 2022) ........................................................................................................ 7
     Holland Am. Line Inc. v. Wartsila N. Am., Inc.,
26
       485 F.3d 450 (9th Cir. 2007) ....................................................................................................... 10
27
     Hungerstation LLC v. Fast Choice LLC,
28     2020 WL 137160 (N.D. Cal. Jan. 13, 2020) ................................................................................ 12
                                                        iii
     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT OR PARTIAL SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
       Case 4:19-cv-07123-PJH                     Document 422                Filed 10/11/24             Page 5 of 33




     Hydentra HLP Int’l v. Sagan Ltd.,
 1
       783 F. App’x 663 (9th Cir. 2019) ................................................................................................ 10
 2   In re JDS Uniphase Corp. Sec. Litig.,
 3       2007 WL 2429593 (N.D. Cal. Aug. 24, 2007) ...................................................................... 22, 23

 4   In re Lenovo Adware Litig.,
         2016 WL 6277245 (N.D. Cal. Oct. 27, 2016) ............................................................................. 17
 5
     Li v. Amazon.com Servs. LLC,
 6       2023 WL 8720669 (N.D. Cal. Dec. 18, 2023) ............................................................................... 5

 7   McKesson Corp. v. Islamic Republic of Iran,
       672 F.3d 1066 (D.C. Cir. 2012) ................................................................................................... 19
 8
     Medimpact Healthcare Sys., Inc. v. IQVIA Inc.,
 9     2022 WL 6281793 (S.D. Cal. Oct. 7, 2022) .................................................................................. 4
10   Meta Platforms, Inc. v. BrandTotal Ltd.,
       605 F. Supp. 3d 1218 (N.D. Cal. 2022) ....................................................................................... 25
11
     NetApp, Inc. v. Nimble Storage, Inc.,
12      41 F. Supp. 3d 816 (N.D. Cal. 2014) ........................................................................................... 17
13   Nowak v. Xapo, Inc.,
14     2020 WL 6822888 (N.D. Cal. Nov. 20, 2020) ............................................................................ 25

15   Oregon Int'l Airfreight Co. v. Bassano,
       2022 WL 2068755 (D. Or. May 16, 2022) .................................................................................... 9
16
     In re Philippine National Bank
17       397 F.3d 768 (9th Cir. 2005) ....................................................................................................... 20

18   Picot v. Weston,
        780 F.3d 1206 (9th Cir. 2015) ....................................................................................................... 7
19
     Rabkin v. Dean,
20     856 F. Supp. 543 (N.D. Cal. 1994) .............................................................................................. 18
21   Risk v. Kingdom of Norway,
        707 F. Supp. 1159 (N.D. Cal. 1989) ............................................................................................ 18
22
     Roche v. Hyde,
23     51 Cal. App. 5th 757 (2020) .......................................................................................................... 5
24   Rodriguez v. Lockheed Martin Corp.,
25     627 F.3d 1259 (9th Cir. 2010) ............................................................................................... 24-25
     Royal Wulff Ventures LLC v. Primero Mining Corp.,
26
       938 F.3d 1085 (9th Cir. 2019) ..................................................................................................... 20
27
     Ryanair DAC v. Booking Holdings Inc.,
28      636 F. Supp. 3d 490 (D. Del. 2022) ............................................................................................ 17
                                                        iv
     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT OR PARTIAL SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
       Case 4:19-cv-07123-PJH                      Document 422                Filed 10/11/24              Page 6 of 33




     Ryanair DAC v. Booking Holdings Inc.,
 1
        2024 WL 3732498 (D. Del. June 17, 2024) ................................................................................ 18
 2   Sadlock v. Walt Disney Co.,
 3      2023 WL 4869245 (N.D. Cal. July 31, 2023) ............................................................................... 5

 4   Saudi Arabia v. Nelson,
        507 U.S. 349 (1993)..................................................................................................................... 19
 5
     Schwarzenegger v. Fred Martin Motor Co.,
 6      374 F.3d 797 (9th Cir. 2004) ................................................................................................... 7, 10

 7   In re Schwarzkopf,
         626 F.3d 1032 (9th Cir. 2010) ..................................................................................................... 15
 8
     Sea Breeze Salt, Inc. v. Mitsubishi Corp.,
 9      899 F.3d 1064 (9th Cir. 2018) ..................................................................................................... 19
10   Seattle Sperm Bank, LLC v. Cryobank Am., LLC,
        2018 WL 3769803 (W.D. Wash. Aug. 9, 2018) ............................................................................ 9
11
     Sinatra v. National Enquirer, Inc.,
12      854 F.2d 1191 (9th Cir. 1988) ............................................................................................... 14, 15
13   Theofel v. Farey-Jones,
14      359 F.3d 1066 (9th Cir. 2003) ..................................................................................................... 21

15   Timberlane Lumber Co. v. Bank of America, N.T. and S.A.,
        549 F.2d 597 (9th Cir. 1976) ....................................................................................................... 19
16
     United States v. Christensen,
17     828 F.3d 763 (9th Cir. 2016) ....................................................................................................... 18

18   United States v. Morris,
       928 F.2d 504 (2d Cir. 1991) .................................................................................................. 23, 24
19
     United States v. Nosal,
20     844 F.3d 1024 (9th Cir. 2016) ......................................................................... 9, 10, 21, 22, 23, 24
21   United States v. Phillips,
       477 F.3d 215 (5th Cir. 2007) ....................................................................................................... 23
22
     Van Buren v. United States,
23     593 U.S. 374 (2021)......................................................................................................... 17, 23-24
24   W.S. Kirkpatrick & Co. v. Env’t Tectonics Corp., Int’l,
25     493 U.S. 400 (1990)..................................................................................................................... 20
     Walden v. Fiore,
26
       571 U.S. 277 (2014)................................................................................................................... 7-8
27
     Wehlage v. EmpRes Healthcare, Inc.,
28     791 F. Supp. 2d 774 (N.D. Cal. 2011) ......................................................................................... 15
                                                        v
     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT OR PARTIAL SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
       Case 4:19-cv-07123-PJH                        Document 422                 Filed 10/11/24              Page 7 of 33




     Williams v. Yamaha Motor Co.,
 1
        851 F.3d 1015 (9th Cir. 2017) ......................................................................................... 13, 14, 15
 2
                                                                STATUTES & RULES
 3   California Comprehensive Data Access and Fraud Act (“CDAFA”), Cal. Pen. Code § 502 ........... 18
 4   Computer Fraud and Abuse Act (“CFAA”), 18 U.S.C. § 1030 ................................................ passim

 5   Fed. R. Civ. P. 4(k)(2) ............................................................................................................ 9, 10, 15
     Fed. R. Civ. P. 56(a) ........................................................................................................................... 3
 6

 7                                                             OTHER AUTHORITIES
     2 W. LaFave Subst. Crim. L. § 13.1(a) (3d ed.) ............................................................................... 17
 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                        vi
     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT OR PARTIAL SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
      Case 4:19-cv-07123-PJH              Document 422      Filed 10/11/24     Page 8 of 33




 1          Plaintiffs’ Motion for Partial Summary Judgment established NSO’s liability under the
 2   Computer Fraud and Abuse Act (“CFAA”), California Comprehensive Computer Data Access and
 3   Fraud Act (“CDAFA”), and for contractual breaches of WhatsApp’s Terms of Service. NSO admits
 4

 5                         . NSO also admits
 6                              . NSO even admitted
 7

 8                                               NSO disputes none of those facts, but attempts to avoid
 9   liability by challenging personal jurisdiction and asserting various defenses under the CFAA and
10   CDAFA. None has merit, and NSO’s motion should be denied.
11          Discovery has established that personal jurisdiction over NSO exists for several independent
12   reasons. First, discovery proves NSO consented to jurisdiction by accepting the amended forum
13   selection clause in WhatsApp’s 2020 Terms of Service. Second, contrary to NSO’s contentions, the
14   undisputed evidence shows
15

16                                                                 . There is no dispute that those servers
17   were located in the United States, including California, and the Court has already rejected NSO’s
18   argument that NSO needed to have selected those particular servers based on their location. Dkt No.
19   111 at 23. Finally, NSO purposefully availed itself of the privilege of doing business in California.
20   Not only did NSO enter into a contract with WhatsApp governed by California law, but it leased a
21   California server                             that it hardcoded into more than 700 malicious messages
22   sent during the attack. NSO also partnered with a California private equity firm, which
23

24                       to create a market for Pegasus in California                                    .
25          NSO’s other arguments are similarly unavailing. NSO is still liable even if
26

27                                     NSO is solely responsible for
28               and thus is liable for                                            , for conspiring with its
                                                        1
     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT OR PARTIAL SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
         Case 4:19-cv-07123-PJH        Document 422         Filed 10/11/24       Page 9 of 33




 1   customers, and for trafficking in “password or similar information.” 18 U.S.C. § 1030(a)(6) & (b).
 2           The act of state doctrine does not apply. NSO has produced no evidence that any (let alone
 3   all) its customers were foreign sovereigns, and finding NSO liable does not require invalidating any
 4   sovereign’s official action taken within its own borders, which makes the doctrine inapplicable.
 5           The undisputed evidence shows that NSO accessed WhatsApp’s servers without
 6   authorization and exceeded any authorization it purportedly had to obtain information NSO was “not
 7   entitled so to obtain.” Id. § 1030(e)(6). NSO’s argument that                                           is
 8   meritless. There is no evidence that its independent development of Pegasus was, in fact,
 9                          or                   “lawfully authorized investigative” activity. Id. § 1030(f).
10           Finally, to the extent NSO’s motion is based on a claim of lack of evidence, that argument
11   should be rejected for the reasons Plaintiffs explained in its Motion for Sanctions. See Dkt. No. 406.
12   Accordingly, NSO’s motion for summary judgment should be denied.
13                                              BACKGROUND
14           To use WhatsApp, users must install the legitimate WhatsApp client application (“Official
15   Client”), and agree to the WhatsApp Terms of Service (“Terms”). See Ex. 1 (Lee Dep.) at 174:4-
16   179:18; see also Ex. 2 (Woog Dep.) at 177:7-23; Youssef Decl., Ex. B at 26-27.1 During registration,
17   an encrypted key is created on the Official Client, which it uses to gain access to the signaling servers,
18   and obtain from them a temporary token used to access the relay servers. Ex. 3 (Gheorghe Dep.) at
19   117:21-119:25, 136:5-137:13. WhatsApp’s signaling servers start the call, and the relay servers
20   support the “realtime traffic” during the call. Id. at 31:14-17, 33:10-21. WhatsApp’s signaling
21   servers are all located in the United States, although none are in California. Ex. 4 (Palau Dep.) at
22   89:7-93:14. WhatsApp’s relay servers are located in the United States and around the world,
23   including in Los Angeles and San Jose, California. Ex. 3 (Gheorghe Dep.) at 206:8-17.
24                                                                           , Ex. 5 (Gazneli Dep.) at 42:23-
25   43:5,                                            , id. at 30:3-31:13; Ex. 6 (Defs.’ Supp. Resps. to Pls.’
26
     1
27     Citations to “Br.” refer to NSO’s motion, Dkt. No. 396, and citations to “Ex.” refer to the Exhibits
     to the Declaration of Micah G. Block submitted herewith. All emphases have been added unless
28   otherwise indicated.
                                                        2
     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT OR PARTIAL SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH             Document 422         Filed 10/11/24    Page 10 of 33




 1   First Interrogs.) at 9-13.
 2

 3                                                                                        . Ex. 5 (Gazneli
 4   Dep.) at 157:7-164:9, 237:10-238:16, 278:16-279:6.
 5

 6                                                   Id. at 278:16-23.
 7                                               . See Ex. 7 (Eshkar Dep.) at 39:15-17, 151:3-153:8.
 8

 9                                                                                                . See Ex.
10   5 (Gazenli Dep.) at 189:25-196:6; Ex. 3 (Gheorghe Dep.) at 103:14-104:7.
11                                                                                     . See Youssef Decl.,
12   Ex. B at 38; Ex. 5 (Gazneli Dep.) at 254:14-17; Ex. 8 (PX2007).
13                                                                  Ex. 5 (Gazneli Dep.) at 256:16-258:5.
14                                                                               Id. at 258:17-22; see Ex. 6
15   (Defs.’ Supp. Resps. to Pls.’ First Interrogs.) at 8.
16                                 See Ex. 9 (Shohat Dep.) at 69:13-18.
17           After detecting those May 2019 attacks, Plaintiffs implemented security updates for their
18   servers and the Official Client,                                         See Ex. 3 (Gheorghe Dep.) at
19   29:22-25; Trexler Decl., Ex. B at 21-31; Ex. 10 (PX2058) at -513; Ex. 11 (PX2039).
20                                 see, e.g., Ex. 12 (SHANER_WHATSAPP_00001480), and filed this
21   lawsuit. Dkt. No. 1.
22

23                                              Ex. 5 (Gazneli Dep.) at 45:15-46:16, 267:2-10.
24                                            LEGAL STANDARD
25           The moving party is entitled to summary judgment only if, after viewing the evidence and
26   drawing all reasonable inferences in the light most favorable to the non-moving party, there are no
27   genuine disputes of material fact. See Fed. R. Civ. P. 56(a); Celotex Corp. v. Catrett, 477 U.S. 317,
28   322 (1986). When a defendant moves based on a lack of jurisdiction, the court still must construe
                                                        3
     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT OR PARTIAL SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH           Document 422        Filed 10/11/24      Page 11 of 33




 1   the evidence “in the light most favorable to the party opposing the motion,” and find jurisdiction “if
 2   no genuine issue of material fact remains that [the plaintiff] has established personal jurisdiction by
 3   a preponderance of the evidence.” Medimpact Healthcare Sys., Inc. v. IQVIA Inc., 2022 WL
 4   6281793, at *11 (S.D. Cal. Oct. 7, 2022) (citation omitted). Any material disputed facts must be
 5   resolved “either at a hearing on the issue of jurisdiction or in the course of trial on the merits.”
 6   Dorchester Fin. Sec., Inc. v. Banco BRJ, S.A., 722 F.3d 81, 85 (2d Cir. 2013) (citation omitted).
 7                                              ARGUMENT
 8   I. NSO IS SUBJECT TO PERSONAL JURISDICTION
 9          The undisputed evidence demonstrates jurisdiction over NSO. Specific jurisdiction exists if
10   (1) NSO purposefully directed its activities toward the forum or purposely availed itself of the
11   privileges of conducting activities in the forum, and (2) Plaintiffs’ claims arise out of or relate to
12   those activities. Axiom Foods, Inc. v. Acerchem Int’l, Inc., 874 F.3d 1064, 1068 (9th Cir. 2017).2
13   The undisputed evidence shows several independent bases for jurisdiction. First, NSO consented to
14   jurisdiction by accepting the 2020 amendments to the Terms. See infra § I.A. Second, NSO
15   purposefully directed its conduct at California because its “program sought out specific servers—
16   including servers in California—in order to transmit malicious code through those servers.” Dkt.
17   No. 111 at 22; see infra § I.B. Finally, NSO purposefully availed itself by leasing and repeatedly
18   using a California server,
19                      , and by creating a market for its spyware products in California. See infra § I.C.
20          A. NSO Consented to Jurisdiction
21          NSO consented to jurisdiction
22                                                                    . 3 NSO admits
23                       , see, e.g., Ex. 7 (Eshkar Dep.) at 17:13-23, 21:13-24, which required agreeing
24   to the Terms, see Ex. 1 (Lee Dep.) at 174:4-179:18. NSO is therefore bound by at least the 2016
25
     2
26    The Court has twice concluded exercising jurisdiction is reasonable. Dkt. No. 111 at 31; Dkt. No.
     233 at 7-8. NSO makes no further arguments about reasonableness, and waives any it might have.
27   3
       Plaintiffs preserve for appeal their contention that the forum selection clause in the 2016 Terms
28   also covered this dispute. See, e.g., Dkt. No. 55 at 10-12.
                                                        4
     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT OR PARTIAL SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
      Case 4:19-cv-07123-PJH           Document 422        Filed 10/11/24      Page 12 of 33




 1   Terms, see AWR Corp. v. ZTE, Corp., 2011 WL 13217534, at *2–3 (C.D. Cal. June 13, 2011); Dkt.
 2   No. 401 at 6-8, which NSO does not deny (Br. at 21). The 2016 Terms permitted WhatsApp to
 3   amend them and provided that “continued use of [WhatsApp’s] Services confirms [the user’s]
 4   acceptance of [the] Terms, as amended.” Ex. 13 (WA-NSO-00014825) at -832. Such provisions are
 5   routinely enforced. See Ghazizadeh v. Coursera, Inc., 2024 WL 3455255, at *13 (N.D. Cal. June 20,
 6   2024) (using services after email notice is “sufficient to demonstrate manifestation of consent to the
 7   updated terms”); Sadlock v. Walt Disney Co., 2023 WL 4869245, at *13 (N.D. Cal. July 31, 2023).
 8            On January 28, 2020, WhatsApp amended the forum selection clause to state: “[Y]ou agree
 9   that you and WhatsApp will resolve any Claim relating to, arising out of, or in any way in connection
10   with our Terms, us, or our Services (each, a ‘Dispute,’ and together, ‘Disputes’) exclusively in the
11   United States District Court for the Northern District of California . . . and you agree to submit to the
12   personal jurisdiction of such courts for the purpose of litigating all such Disputes.” Ex. 14 (WA-
13   NSO-00195067) at -071. NSO admits that this revised language “covers ‘any Claim,’ period,” and
14   “expand[s] coverage . . . to the two way ‘you and WhatsApp will resolve any claim’ between the
15   parties” in California. Dkt. No. 62 at 3. In a declaration filed on April 2, 2020, NSO’s counsel
16   admitted he became aware of this amendment in February 2020, after it was posted on WhatsApp’s
17   website. Dkt. No. 45-1; see Roche v. Hyde, 51 Cal. App. 5th 757, 797 (Cal. Ct. App. 2020) (attorney’s
18   knowledge is imputed to its client). NSO admits
19                                         , Ex. 5 (Gazneli Dep.) at 267:2-271:8, and its documents show
20   it                                                                            . 4 Dkt. No. 401-1 (Block
21   Decl.) ¶ 18 & Ex. 23; Dkt. No. 401-3 (Andre Decl.) ¶ 9 & Ex. A. NSO thus accepted the amended
22   forum selection clause and consented to this Court’s jurisdiction. See Li v. Amazon.com Servs. LLC,
23   2023 WL 8720669, at *7 (N.D. Cal. Dec. 18, 2023) (amendment applies to preexisting disputes).
24            B. NSO Purposefully Directed Its Conduct at Plaintiffs’ Servers
25            The “purposeful direction” test requires that the defendant “(1) committed an intentional act,
26

27   4
          NSO has
28                                                                          . See Dkt. No. 408 at 1-2.
                                                        5
     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT OR PARTIAL SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH            Document 422       Filed 10/11/24      Page 13 of 33




 1   (2) expressly aimed at the forum state, [and] (3) caus[ed] harm that the defendant knows is likely to
 2   be suffered in the forum state.” See Axiom Foods, 874 F.3d at 1069 (citation omitted). The Court
 3   found these elements satisfied by Plaintiffs’ allegations that: (1) NSO “target[ed] WhatsApp’s
 4   systems and servers . . . to disseminate malicious code and malware” and “designed and manufactured
 5   a program to exploit WhatsApp’s app, servers, and infrastructure,” Dkt. No. 111 at 18-19; (2) NSO’s
 6   “program sought out specific servers—including servers in California—in order to transmit
 7   malicious code through those servers,” id. at 21-22; and (3) NSO “would have known they were
 8   harming plaintiffs” at “their principal place of business in California,” id. at 25. Plaintiffs’ Motion
 9   demonstrates that                                        . In its motion, NSO only disputes
10

11          It is undeniable that NSO
12                                                                                  . Ex. 5 (Gazneli Dep.)
13   at 184:6-10; see also id. at 277:17-278:2; 282:1-10; 325:23-326:19. That is why
14

15                                           id. at 68:10-69:21, and the
16                                   id. at 145:23-146:12. NSO then
17

18            id. at 279:16-282:10
19

20                        id. at 276:19-278:2. NSO also
21                                                                                              . See id. at
22   254:2-260:2; Ex. 6 (Defs.’ Supp. Resps. to Pls.’ First Interrogs.) at 10-12.
23          There is no dispute about the servers’ locations. Br. at 5-6, 9. WhatsApp’s signaling servers
24   were exclusively in the United States. Ex. 4 (Palau Dep.) at 89:7-93:14. And NSO used U.S.-based
25   relay servers at least 176 times out of 379 attacks (46%) recorded by Plaintiffs’ server logs over just
26   ten days in May 2019, including using relay servers located in California 43 times (11%). See Ex.
27   15 (WA-NSO-00166473); Ex. 3 (Gheorghe Dep.) at 206:8-17; Br. at 6.
28          There is no requirement that NSO                                                as NSO insists.
                                                        6
     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT OR PARTIAL SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH           Document 422         Filed 10/11/24      Page 14 of 33




 1   Br. at 2.5 This Court already concluded it is irrelevant whether NSO “selected the location of the
 2   server,” and rejected NSO’s arguments that “the location of the server is fortuitous and their claims
 3   would have been the same if the servers were located in Cleveland, Paris, or Timbuktu.” Dkt. No.
 4   111 at 23. The Court’s rationale relied on well-established Ninth Circuit authority, all of which
 5   remains good law and NSO ignores. The Ninth Circuit has held that whether conduct is “expressly
 6   aimed” at the forum “depends, to a significant degree, on the specific type of tort or other wrongful
 7   conduct at issue.” Picot v. Weston, 780 F.3d 1206, 1214 (9th Cir. 2015) (quoting Schwarzenegger v.
 8   Fred Martin Motor Co., 374 F.3d 797, 807 (9th Cir. 2004)). And the Ninth Circuit has held that “the
 9   conduct prohibited [by the CFAA] is analogous to that of ‘breaking and entering,’” hiQ Labs, Inc. v.
10   LinkedIn Corp., 31 F.4th 1180, 1196 (9th Cir. 2022) (citation omitted). This Court thus reasonably
11   concluded that “[b]y sending malicious code to the California-based servers, defendants allegedly
12   caused a digital transmission to enter California, which then effectuated a breaking and entering of a
13   server in California.” Dkt. No. 111 at 23. In the four years since that decision, courts have followed
14   this Court’s rationale,6 and none have disagreed with it.
15          NSO’s connection with California is thus not dependent on Plaintiffs’ “unilateral activity,”
16   and NSO’s reliance on Walden v. Fiore, 571 U.S. 277 (2014), continues to be misplaced. Br. at 11.
17   In Walden, DEA agents seized Nevada residents’ property in Georgia, who then unilaterally returned
18   to Nevada and sued there. 571 U.S. at 280-81. The Supreme Court found no jurisdiction because
19   the defendants “never traveled to, conducted activities within, contacted anyone in, or sent anything
20   or anyone to Nevada.” Id. at 288-89. This case is completely different. NSO did not merely target
21   Plaintiffs, who happened to be California residents, but intentionally reached into California to access
22   WhatsApp’s servers located here. And as discussed in more detail below, NSO also leased a
23   California server, whose IP address NSO hardcoded into over 700 messages sent over WhatsApp
24   servers,                                                            . See infra § I.C.1. As this Court
25
     5
      GreatFence.com, Inc. v. Bailey is not to the contrary. 726 F. App’x 260, 261 (5th Cir. 2018); see
26   Br. at 11. Defendants there did not direct any conduct at the forum servers, and had not “played
     any role in selecting [their website hosting company’s] server’s location.” 726 F. App’x at 261
27   6
       See, e.g., Facebook, Inc. v. Sahinturk, 2022 WL 1304471, at *4 (N.D. Cal. May 2, 2022); E3
28   Innovation Inc. v. DCL Techs. Inc., 2021 WL 5741442, at *9 (D. Ariz. Dec. 2, 2021).
                                                        7
     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT OR PARTIAL SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH          Document 422         Filed 10/11/24     Page 15 of 33




 1   recognized, Dkt. No. 111 at 24 n.7, Walden did not address these “very different questions whether
 2   and how a defendant’s virtual ‘presence’ and conduct” “committed via the Internet or other electronic
 3   means” “translate into ‘contacts’ with a particular State.” Walden, 571 U.S. at 290 n.9. NSO
 4   identifies no authority undermining this Court’s correct conclusion that “[b]y sending the malicious
 5   code, defendants electronically entered the forum state seeking out plaintiffs’ servers,” and thus
 6   “created a connection with the forum beyond an individualized targeting theory.” Dkt. No. 111 at
 7   24-25; see also Ford Motor Co. v. Montana Eighth Jud. Dist. Ct., 592 U.S. 351, 371 (2021) (rejecting
 8   arguments that Walden precluded jurisdiction where plaintiffs unilaterally brought their vehicles to
 9   Montana and Minnesota because of defendants’ own contacts with the forum). NSO therefore cannot
10   complain that Plaintiffs unilaterally decided where to locate their own servers, because
11                                                                                    .
12          NSO also contends that Plaintiffs unilaterally directed NSO’s messages to these U.S.- and
13   California-based servers, but that is false. As a threshold matter, NSO violated this Court’s orders
14   by not producing its Pegasus code, nor any discovery showing how it selected the WhatsApp servers.
15   NSO therefore,                                                        , cf. Dkt. No. 397-2 (McGraw
16   Decl.) ¶ 49, and instead relies on evidence concerning how WhatsApp’s Official Client ordinarily
17   selects servers. See, e.g., Ex. 3 (Gheorghe Dep.) at 103:14-104:7; Br. at 4-5. To be sure, ordinarily,
18   the Official Client chooses which relay server to use. Ex. 3 (Gheorghe Dep.) at 120:21-121:17. But
19   as shown in Plaintiffs’ Motion, NSO
20                                          . See Ex. 5 (Gazneli Dep.) at 157:7-22, 161:20-162:3, 186:10-
21   17. Although NSO
22                                                              Youssef Decl. ¶¶ 8-15.
23          The undisputed evidence shows that
24                         . First, NSO admits
25

26                                                       Ex. 5 (Gazneli Dep.) at 189:25-196:22. An NSO
27   document indicates that,
28                                         . Ex. 16 (PX2033). Then,
                                                        8
     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT OR PARTIAL SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH            Document 422           Filed 10/11/24     Page 16 of 33




 1

 2                . See Ex. 5 (Gazneli Dep.) at 254:14-23, 259:21-260:2; Ex. 6 (Defs.’ Supp. Resps. to
 3   Pls.’ First Interrogs.) at 10-12. Because NSO
 4

 5             (Br. at 10),
 6                             . See Ex. 5 (Gazneli Dep.) at 157:7-20, 186:10-17; Dkt. No. 401 at 15-18.
 7          NSO also knew or should have known the locations of WhatsApp’s relay and signaling
 8   servers. It is well known, and would have been known to NSO, that Plaintiffs are located in
 9   California, and at least some of its servers were likely there. 7 See Facebook, Inc. v. Rankwave Co.,
10   2019 WL 8895237, at *6 (N.D. Cal. Nov. 14, 2019) (considering it a “well-known fact that Facebook
11   is headquartered in California”). The Terms also indicated that WhatsApp’s notice address was in
12   California. See Ex. 13 (WA-NSO-00014825) at -834.
13                                                                  , Dkt. No. 339-1,
14       Dkt. No. 397-2 ¶¶ 48-52,
15

16                                                         . See Youssef Decl. ¶¶ 8-15, Ex. B at 37, Ex. C at
17   21. If NSO, in fact,                                                                     , Ex. 5 (Gazneli
18   Dep.) at 323:23-325:8, that could only result from willful blindness, which is no defense. See United
19   States v. Nosal (“Nosal II”), 844 F.3d 1024, 1039-40 (9th Cir. 2016); Facebook, Inc. v. ConnectU
20   LLC, 2007 WL 2326090, at *6 (N.D. Cal. Aug. 13, 2007) (“remaining ignorant of Facebook’s precise
21   location” did not “warrant[ ] a different result”).
22          In addition, it is undisputed that
23                                                                                              Ex. 5 (Gazneli
24   Dep.) at 276:19-278:2. NSO
25                                                                       . Br. at 9. That is irrelevant, because
26
     7
27     See, e.g., Oregon Int’l Airfreight Co. v. Bassano, 2022 WL 2068755, at *4 (D. Or. May 16, 2022);
     DBSI, Inc. v. Oates, 2020 WL 5517305, at *3 (D. Ariz. Sept. 14, 2020); Seattle Sperm Bank, LLC
28   v. Cryobank Am., LLC, 2018 WL 3769803, at *1 (W.D. Wash. Aug. 9, 2018).
                                                        9
     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT OR PARTIAL SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH             Document 422         Filed 10/11/24       Page 17 of 33




 1   Plaintiffs’ CFAA claim arises under federal law and Rule 4(k)(2) permits jurisdiction based on NSO’s
 2   contacts with the United States as a whole. See Fed. R. Civ. P. 4(k)(2); Hydentra HLP Int’l v. Sagan
 3   Ltd., 783 F. App’x 663, 665 (9th Cir. 2019). Because the “[t]he due process analysis under Rule
 4   4(k)(2) is nearly identical,” except it “consider[s] contacts with the nation as a whole,” Axiom Foods,
 5   874 F.3d at 1072 (citation omitted), targeting U.S. servers—including the signaling servers—suffices
 6   for the same reasons this Court found jurisdiction in California. 8
 7            NSO has not met its burden under Rule 4(k)(2) to identify another state where it is subject to
 8   jurisdiction. See Holland Am. Line Inc. v. Wartsila N. Am., Inc., 485 F.3d 450, 462 (9th Cir. 2007).
 9   NSO provides no evidence that                         supports jurisdiction in                        when
10                                                              , see Ex. 17 (DIVITTORIO_WHATSAPP_
11   00000003),                                   , see Ex. 9 (Shohat Dep.) at 172:8-16. NSO argues that it
12   would be subject to jurisdiction in Delaware if Westbridge were its alter ego, but that does not address
13   where NSO itself is subject to jurisdiction, and NSO disputes that Westbridge is its alter ego. NSO
14   is wrong, see infra § I.C.2, but the Court need not even reach that issue to find jurisdiction. 9
15            C. NSO Purposefully Availed Itself of Doing Business in California
16            When a defendant does business in the forum, it “purposefully avails itself of the privilege of
17   conducting activities within the forum State, thus invoking the benefits and protections of its laws.”
18   Schwarzenegger, 374 F.3d at 802 (quoting Hanson v. Denckla, 357 U.S. 235, 253 (1958)). NSO
19   admits                                                                    , and thus             consented
20   to the Terms, including its California choice-of-law provision, and a forum selection clause
21   governing at least NSO’s disputes with WhatsApp. See supra § I.A; Ex. 13 (WA-NSO-00014825)
22

23   8
       NSO’s cases do not show that Rule 4(k)(2) requires more extensive contacts for specific
     jurisdiction. See Good Job Games Bilism Yazilim Ve Pazarlama A.S. v. SayGames LLC, 458 F.
24   Supp. 3d 1202, 1212 (N.D. Cal. 2020) (finding jurisdiction unreasonable when defendant only
     selected app store’s option to sell mobile app in United States, among other countries), rev’d and
25   remanded, 2021 WL 5861279 (9th Cir. Dec. 10, 2021) (remanding for discovery because “[t]he
     question of jurisdiction in the Internet age is not well-settled”); Glencore Grain Rotterdam B.V. v.
26   Shivnath Rai Harnarain Co., 284 F.3d 1114, 1127 (9th Cir. 2002) (concluding seven shipments
     years before suit were too “few in number and old in vintage” to exercise general jurisdiction).
27   9
      In the event the Court concludes that NSO is not subject to jurisdiction in California, but is
28   subject to jurisdiction in another state, Plaintiffs respectfully request a transfer to that state’s courts.
                                                        10
     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT OR PARTIAL SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH            Document 422       Filed 10/11/24     Page 18 of 33




 1   at -830-31; Rankwave, 2019 WL 8895237, at *5-6. The Court acknowledged this “would be relevant
 2   if it were combined with other facts to demonstrate that defendants purposefully availed themselves
 3   of California law.” Dkt. No. 111 at 27. Discovery has now confirmed that NSO did purposefully
 4   avail itself by doing business in California related to Plaintiffs’ claims. See Ford Motor Co., 592
 5   U.S. at 359, 362. First, NSO leased a California-based server               that NSO then hardcoded
 6   into 720 payloads used in the May 2019 attacks. Second, NSO partnered with a California firm to
 7   secure the funding to develop its products and to help market its products in California.
 8                    1. NSO Leased and Used a California Server for Its Customers
 9            The undisputed evidence shows that NSO purposefully leased and used a California server in
10   the attack. Records created during the May 2019 attack revealed that the data initially sent to the
11   WhatsApp servers by the Malware Vectors contained IP addresses that represented servers, see Ex.
12   18 (Robinson Dep.) at 231:4-235:2, 337:22-340:4,
13                                                                      Ex. 6 (Defs.’ Supp. Resps. to Pls.’
14   First Interrogs.) at 12. NSO had hardcoded each IP address into the data sent                        .
15   Dkt. No. 55-2 ¶ 4. One IP address used at least 700 times was 104.223.76.220, which is a QuadraNet
16   server in California. See Dkt. No. 55-2 ¶ 4; Dkt. No. 55-6 ¶ 2 (showing server’s coordinates in LA,
17   and evidence of QuadraNet’s LA-based data center). NSO provides no evidence that the server was
18   located elsewhere.10 Br. at 12.
19            The Court previously construed the pleadings as failing to allege that NSO “controlled where
20   the third parties placed their servers,” Dkt. No. 111 at 21, but discovery revealed that
21

22

23

24                                                                  Ex. 9 (Shohat Dep.) at 68:1-16. NSO
25   could determine the server’s location from the IP address alone. See Dkt. 55-6 (Mornin Decl.) ¶ 2.
26            NSO’s                                                                    is misleading. The
27
     10
28        The same information correctly placed the AWS server in Germany. Dkt. No. 55-2 ¶ 5 & Ex. 6.
                                                        11
     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT OR PARTIAL SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH           Document 422        Filed 10/11/24     Page 19 of 33




 1   QuadraNet server
 2                                       Ex. 19 (WA-NSO-00014771). NSO
 3

 4

 5

 6                         Ex. 7 (Eshkar Dep.) at 151:3-155:1; see Ex. 5 (Gazneli Dep.) at 293:8-15.
 7   Moreover, NSO
 8

 9                                                                                See Ex. 20 (WA-NSO-
10   00000019); Ex. 21 (WA-NSO-00000023) at -33-35. NSO admits
11                        Ex. 7 (Eshkar Dep.) at 151:3-155:1, and produced documents indicating
12                                    . See, e.g., Ex. 22 (NSO_WHATSAPP_00007959).
13

14                                      NSO therefore knowingly leased and repeatedly used a California-
15   based server in the May 2019 attack. 11
16                   2. NSO Attempted to Create a Market for Its Spyware in California
17            The undisputed evidence shows that NSO purposefully availed itself of the privilege of doing
18   business in California to obtain funding to develop the Malware Vectors and to market them.
19            In 2014, NSO sold a stake in its business to California-based firm Francisco Partners L.P.
20   (“FP”)                   . Ex. 23 (WA-NSO-00067661) at 682; Ex. 24 (WA-NSO-00069802). FP
21   owned NSO until February 2019,                                          and was
22                                                                                           id. at 42:13-
23   43:13, 141:7-22; Ex. 25 (WA-NSO-00067809) at 11                                                     ;
24   see Berkeley Lights, Inc. v. AbCellera Biologics Inc., 2021 WL 4497874, at *3 (N.D. Cal. Jan. 29,
25
     11
       NSO’s cases are completely distinguishable. See, e.g., Carefirst of Maryland, Inc. v. Carefirst
26   Pregnancy Centers, Inc., 334 F.3d 390, 402 (4th Cir. 2003) (defendant hired a website hosting
     company that independently used forum servers); Hungerstation LLC v. Fast Choice LLC, 2020
27   WL 137160, at *1-2 (N.D. Cal. Jan. 13, 2020), aff’d, 2021 WL 1697886 (9th Cir. Apr. 29, 2021)
     (defendant incidentally used non-parties’ forum servers while infringing plaintiff’s trademarks).
28
                                                        12
     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT OR PARTIAL SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH           Document 422        Filed 10/11/24      Page 20 of 33




 1   2021) (concluding that “business dealings” with, and “acquisition of financing” from, “California
 2   companies” was conduct “purposefully directed at California”).
 3

 4                        Ex. 5 (Gazneli Dep.) at 299:21-300:15, 256:16-258:9; Ex. 9 (Shohat Dep.) at
 5   68:22-69:18; see, e.g., Ex. 26 (FPM-00015812) at -890
 6                                .
 7

 8

 9              Ex. 9 (Shohat Dep.) at 95:6-13; id. at 137:3-11
10

11

12

13

14                  Dkt. No. 396-3 (Shohat Decl.), Ex. D § 2.1.
15                                            See Ex. 27 (Shaner Dep.) at 45:22-46:18, 204:19-205:15.
16

17                                                                                               . Ex. 28
18   (NSO_WHATSAPP_00046430); Ex. 29 (PX2023) (brochure for “Phantom”); Ex. 9 (Shohat Dep.)
19   at 157:10-12
20

21                                                                                  . See Ex. 27 (Shaner
22   Dep.) at 289:12-290:24, 200:3-14, 211:4-21
23                                    ; Ex. 17 (DIVITTORIO_WHATSAPP_00000003)
24                                                                                         .
25          The Court need not find that Westbridge is NSO’s alter ego to find that NSO did business in
26   California, as NSO contends. Br. at 14. The “alter ego test [is] for ‘imput[ing]’ general jurisdiction”
27   from one entity to another. Williams v. Yamaha Motor Co., 851 F.3d 1015, 1021 (9th Cir. 2017)
28   (citation omitted). Specific jurisdiction may be based on Westbridge’s marketing activity for NSO if
                                                        13
     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT OR PARTIAL SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH           Document 422         Filed 10/11/24      Page 21 of 33




 1   “the ‘agent act[s] on the principal’s behalf and subject to the principal’s control.’” Bluestar Genomics
 2   v. Song, 2023 WL 4843994, at *23 (N.D. Cal. May 25, 2023) (quoting Williams, 851 F.3d at 1025).
 3   Indeed, the Supreme Court has acknowledged “marketing the product through a distributor who has
 4   agreed to serve as the sales agent in the forum State” can “indicate an intent or purpose to serve the
 5   market in the forum State.” Asahi Metal Indus. Co. v. Superior Ct. of California, Solano Cnty., 480
 6   U.S. 102, 112 (1987) (plurality opinion); see also Sinatra v. National Enquirer, Inc., 854 F.2d 1191,
 7   1197 (9th Cir. 1988) (Swiss clinic subject to jurisdiction because it “instructed [an agent] to advertise
 8   [in California] and approved the ads placed”); Williams, 851 F.3d at 1023 n.3 (affirming Sinatra after
 9   Daimler because defendant in Sinatra “actively directed [agent’s] advertising and sales efforts”).
10          The preponderance of the evidence shows that Westbridge acted on NSO’s behalf and that
11   NSO directed and controlled Westbridge’s marketing activities.
12

13                                             . Dkt. No. 396-3 (Shohat Decl.), Ex. D § 2.1; Ex. 27 (Shaner
14   Dep.) at 45:22-46:18, 204:19-205:15.                                                  Ex. 30 (DiVittorio
15   Dep.) 132:17-134:1, 192:5-10, 200:9-17.                                              See Ex. 27 (Shaner
16   Dep.) at 33:22-36:21; Ex. 31 (NSO_WHATSAPP_00046461).
17                            See, e.g., Ex. 27 (Shaner Dep.) at 152:3-8
18

19                             Ex. 17 (DIVITTORIO_WHATSAPP_00000003); Ex. 32 (DIVITTORIO_
20   WHATSAPP_00000123).
21

22   See Ex. 27 (Shaner Dep.) at 148:19-152:13, 116:11-118:3; Ex. 9 (Shohat Dep.) at 170:1-171:10; see,
23   e.g, Ex. 33 (SHANER_WHATSAPP_00001484); Dkt. No. 401-1, Ex. 36.
24                                        See Ex. 30 (DiVittorio Dep.) at 163:7-16, 212:4-214:8; Ex. 34
25   (DIVITTORIO_WHATSAPP_00000120)
26

27              Ex. 30 (DiVittorio Dep.) at 248:22-249:15,
28                                         Ex. 35 (Gil Dep.) at 64:11-68:19. Westbridge’s sales efforts
                                                        14
     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT OR PARTIAL SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH           Document 422        Filed 10/11/24        Page 22 of 33




 1

 2                               . See Dkt. No. 396-5 (Akro. Decl.), Ex. N; Ex. 9 (Shohat Dep.) at 143:15-
 3   144:23.    Westbridge sales agents admitted
 4                                                                       . Ex. 27 (Shaner Dep.) at 180:25-
 5   184:9.    The preponderance of the evidence demonstrates that NSO directed and controlled
 6   Westbridge’s sales efforts, which suffices for specific jurisdiction in California. See Williams, 851
 7   F.3d at 1023 n.3 (citing Sinatra, 854 F.2d at 1197). Westbridge’s efforts to create a market for NSO’s
 8   products in the United States generally also suffice under Rule 4(k)(2).
 9            Even if it were necessary (it is not) to determine whether Westbridge is NSO’s alter ego, the
10   preponderance of the evidence shows that it was. An alter ego relationship exists when “there is such
11   a unity of interest and ownership that the individuality, or separateness, of the said person and
12   corporation has ceased” and “adherence to the fiction of the separate existence of the corporation
13   would . . . sanction a fraud or promote injustice.” In re Schwarzkopf, 626 F.3d 1032, 1038 (9th Cir.
14   2010). Courts consider several factors indicative of “a unity of interest and ownership.” City & Cnty.
15   of San Francisco v. Purdue Pharma L.P., 491 F. Supp. 3d 610, 635 (N.D. Cal. 2020) (citing Daewoo
16   Elecs. Am. Inc. v. Opta Corp., 875 F.3d 1241, 1250 (9th Cir. 2017)). Several are present here: (1)
17                                                                  , Ex. 9 (Shohat Dep.) at 76:1-77:1; Ex.
18   36 (PX2009); (2) NSO and Westbridge
19                                                                        , Ex. 9 (Shohat Dep.) at 73:20-25,
20   137:12-14, 142:2-143:14; (3)
21                 Ex. 30 (DiVittorio Dep.) at 87:11-19; (4)
22                                                                                       , id. at 98:13-99:8,
23   132:17-134:1, 192:5-10, 200:9-17; and (5)
24                                          id. at 94:2-13, 275:15-18,
25                    Ex. 27 (Shaner Dep.) at 180:25-184:9, and                                             ,
26   Ex. 37 (PX2050). It would be “an inequitable result” if Westbridge’s sales efforts were “treated as
27   those of the corporation alone,” Wehlage v. EmpRes Healthcare, Inc., 791 F. Supp. 2d 774, 782 (N.D.
28   Cal. 2011), when
                                                        15
     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT OR PARTIAL SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH            Document 422        Filed 10/11/24       Page 23 of 33




 1                                                                             . See Ex. 9 (Shohat Dep.) at
 2   140:6-23. This record establishes that Westbridge was NSO’s alter ego. At a minimum, it shows that
 3   NSO cannot prevail on summary judgment on an argument that Westbridge was not its alter ego.
 4                  3. Plaintiffs’ Claims Arise from NSO’s Business Activities in California
 5          Plaintiffs’ claims arise from or at least relate to NSO’s California business activities. A “strict
 6   causal relationship” is not required, and it is sufficient if the claims “relate to” the forum contacts.
 7   Ford Motor, 592 U.S. at 359, 362. For example, in Ford Motor, the defendant was subject to suit for
 8   motor vehicle accidents in Montana and Minnesota because it “had systematically served a market
 9   [there] for the very vehicles that the plaintiffs allege malfunctioned and injured them in those States,”
10   even though the plaintiffs had unilaterally brought the vehicles to those states. Id. at 365. Here,
11   Plaintiffs’ claims directly arise from NSO’s leasing and use of a California server more than 700
12   times in the attack. They also relate to the California funding NSO obtained to
13                                                      and NSO’s efforts to market them in California and
14   the United States, including
15                        These contacts suffice for jurisdiction. See Ayla, LLC v. Alya Skin Pty. Ltd., 11
16   F.4th 972, 981 (9th Cir. 2021) (marketing mostly “to an international or Australian audience does not
17   alter the jurisdictional effect of marketing targeted specifically at the United States”).
18   II. NSO IS LIABLE FOR PEGASUS AND ITS USE
19          A. NSO Is Liable for Its Own Conduct
20          Plaintiffs’ Motion shows that NSO is liable under the CFAA and CDAFA for accessing
21   WhatsApp’s servers and the target devices without authorization. NSO argues
22

23                                                                Both arguments are meritless.
24          First, NSO admits
25

26                                             Ex. 9 (Shohat Dep.) at 68:22-69:18; Ex. 5 (Gazneli Dep.) at
27   272:11-274:1, 289:22-290:24. NSO’s claim
28
                                                        16
     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT OR PARTIAL SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH           Document 422         Filed 10/11/24      Page 24 of 33




 1                                                                                       . See infra § III.A-
 2   B; Dkt. No. 401 at 13-20. The CFAA prohibits the manner in which information is obtained, even
 3   if the defendant has authorization to obtain it in other ways. See Van Buren v. United States, 593
 4   U.S. 374, 385 (2021) (CFAA “forecloses” any “defense” that defendant “was ‘entitled to obtain’ the
 5   information if he had the right to access personnel files through another method”).
 6            Second, NSO is solely responsible for Pegasus’s unauthorized access to WhatsApp’s servers.
 7   See, e.g., Ryanair DAC v. Booking Holdings Inc., 636 F. Supp. 3d 490, 502 (D. Del. 2022)
 8   (“[L]iability can be based on ‘the principal’s active role in the CFAA violator’s conduct’ by directing,
 9   encouraging, or inducing a CFAA violation” (citation omitted)); 2 W. LaFave Subst. Crim. L.
10   § 13.1(a) (3d ed.) (principal is liable for “acts or omissions” by one from whom he “withheld facts”).
11   NSO
12                Ex. 9 (Shohat Dep.) at 70:5-71:21
13

14

15                       Ex. 27 (Shaner Dep.) 82:24-89:25, 111:20-116:25; Ex. 38 (PX2051); Dkt. No. 1-
16   1 at 37-38                                                      . In other words,
17

18

19

20                 Ex. 9 (Shohat Dep.) at 68:1-16. NSO
21

22                                                                 Id.; see Ex. 5 (Gazneli Dep.) at 265:1-
23   267:25                                                                                       NSO
24                                                                                   Ex. 7 (Eshkar Dep.) at
25   39:15-17, 151:3-153:8,
26                                                 . See Dkt. No. 1-1 at 37-38, 46-47.
27            Third, NSO is liable for conspiring with its customers to access target devices without
28   authorization. See 18 U.S.C. § 1030(b); Dkt. No. 401 at 23-24. A conspiracy “requires ‘specific
                                                        17
     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT OR PARTIAL SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH           Document 422        Filed 10/11/24      Page 25 of 33




 1   allegations of an agreement and common activities.’” In re Lenovo Adware Litig., 2016 WL
 2   6277245, at *6 (N.D. Cal. Oct. 27, 2016) (quoting NetApp, Inc. v. Nimble Storage, Inc., 41 F. Supp.
 3   3d 816, 835 (N.D. Cal. 2014)). In Ryanair DAC v. Booking Holdings Inc., the Court denied
 4   defendants’ motion for summary judgment on a conspiracy claim where there were agreements that
 5   necessarily “require[d] circumventing” access limitations, and “defendants knew or should have
 6   known that its vendors were accessing protected portions of the Ryanair website without
 7   authorization.” 2024 WL 3732498, at *23 (D. Del. June 17, 2024).
 8                                                          , see Ex. 6 (Defs.’ Supp. Resps. to Pls.’ First
 9   Interrogs.) at 15-16,
10

11

12                                                          Ex. 5 (Gazneli Dep.) at 258:1-5; Ex. 6 (Defs.’
13   Supp. Resps. to Pls.’ First Interrogs.) at 15-16; Ex. 7 (Eshkar Dep.) at 39:15-17, 151:3-153:8. 12
14          Finally, NSO is liable for trafficking in “password or similar information” that provides
15   unauthorized access to WhatsApp’s servers and users’ target devices. 18 U.S.C. § 1030(a)(6); Cal.
16   Penal Code § 502(c)(6); Dkt. No. 401 at 24-25. NSO admits
17

18            Ex. 5 (Gazneli Dep.) at 247:4-17. And NSO admits
19                                                                                 See Ex. 7 (Eshkar Dep.)
20   at 81:5-87:3                                              ; Ex. 9 (Shohat Dep.) at 70:5-71:21; Ex. 6
21   (Defs. Supp. Resps. to Pls.’ First Interrogs.) at 15-16; Ex. 39 (PX2045).
22          B. The Identity of NSO’s Customers Provides No Defense
23          NSO’s unsubstantiated allegations that its customers are all sovereigns is no defense. Even
24

25   12
       NSO is liable even if its co-conspirators are immune. See Rabkin v. Dean, 856 F. Supp. 543, 551
26   (N.D. Cal. 1994); Risk v. Kingdom of Norway, 707 F. Supp. 1159, 1167–69 (N.D. Cal. 1989).
     NSO’s belief that they would use the spyware only for law enforcement purposes is not a defense,
27   see United States v. Christensen, 828 F.3d 763, 794 (9th Cir. 2015), including because there is no
     foreign law enforcement exemption under the CFAA. Cf. 18 U.S.C. § 1030(f); In re Apple Inc.
28   Device Performance Litig., 347 F. Supp. 3d 434, 448–49 (N.D. Cal. 2018).
                                                        18
     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT OR PARTIAL SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH            Document 422         Filed 10/11/24       Page 26 of 33




 1   if they were sovereigns, the act of state doctrine would not apply, because it only “bars suit where
 2   ‘(1) there is an official act of a foreign sovereign performed within its own territory; and (2) the relief
 3   sought or the defense interposed [in the action would require] a court in the United States to declare
 4   invalid the [foreign sovereign’s] official act.’” Sea Breeze Salt, Inc. v. Mitsubishi Corp., 899 F.3d
 5   1064, 1069 (9th Cir. 2018) (quoting Credit Suisse v. U.S. Dist. Court, 130 F.3d 1342, 1346 (9th Cir.
 6   1997)) (alterations in original). None of these criteria are applicable here.
 7            First, NSO provided no discovery regarding the identity of its customers                         ,
 8   or that any, let alone all, were foreign sovereigns. NSO relies solely on
 9                                                                                   See Br. at 19 & n.15; Dkt.
10   No. 396-5 (Akro. Decl.), Ex. S-V. That is not proof that any NSO customer was a sovereign.
11            Second, there is no evidence that Plaintiffs’ claims concern any “official act,” which are
12   “actions that, by their nature, could only be undertaken by a sovereign power.” McKesson Corp. v.
13   Islamic Republic of Iran, 672 F.3d 1066, 1073-74 (D.C. Cir. 2012). NSO is a private company, and
14   its unilateral development, testing, marketing, and use of its own commercial spyware cannot
15   constitute “official acts.” Nor do those activities become “official acts” simply because a sovereign
16   uses that spyware, or based on NSO’s say-so. 13 See Saudi Arabia v. Nelson, 507 U.S. 349, 360–61
17   (1993) (“[T]he issue is whether the particular actions that the foreign state performs (whatever the
18   motive behind them) are the type of actions by which a private party engages in ‘trade and traffic or
19   commerce.’”); see also, e.g., McKesson, 672 F.3d at 1073-74 (Iran’s hostile takeover of a board of
20   directors was not an “official act”); Timberlane Lumber Co. v. Bank of Am., N.T. and S.A., 549 F.2d
21   597, 606 (9th Cir. 1976) (“[T]he [act of state] doctrine does not bestow a blank-check immunity upon
22   all conduct blessed with some imprimatur of a foreign government.”).
23            Third, NSO has provided no evidence that any conduct was undertaken by a sovereign “within
24   its own territory,” and in fact, the evidence shows the opposite is true. Sea Breeze, 899 F.3d at 1069.
25   NSO developed the technology in Israel, WhatsApp’s servers were accessed in the United States, see
26

27   13
          NSO also concedes
                                               Ex. 9 (Shohat Dep.) at 24:1-7, 29:24-32:14.
28
                                                        19
     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT OR PARTIAL SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH            Document 422         Filed 10/11/24      Page 27 of 33




 1   Ex. 15 (WA-NSO-00166473), victims were located in dozens of countries, see Ex. 40 (WA-NSO-
 2   00192007) at -015-16,                                                                               , Ex. 39
 3   (PX2045). NSO’s reliance on In re Philippine National Bank, 397 F.3d 768 (9th Cir. 2005) is
 4   misplaced. The Ninth Circuit applied the act of state doctrine to extraterritorial conduct in Philippine
 5   National only “in the extraordinary circumstances of th[at] case,” where the Philippines seized its
 6   former President’s property held by a state-owned bank’s foreign branch. Id. at 773-74. NSO has
 7   provided no evidence of any similar “extraordinary” or even legitimate “underlying governmental
 8   interest” justifying applying the act of state doctrine to the extraterritorial conduct here. Id.
 9          Finally, the doctrine “does not establish an exception for cases and controversies that may
10   embarrass foreign governments, but merely requires that, in the process of deciding, the acts of
11   foreign sovereigns taken within their own jurisdictions shall be deemed valid.” W.S. Kirkpatrick &
12   Co. v. Env’t Tectonics Corp., Int’l, 493 U.S. 400, 409-10 (1990). In other words, it applies only
13   “where resolution of a plaintiff’s claims would require a court to evaluate a foreign sovereign’s
14   compliance with its own laws.” Royal Wulff Ventures LLC v. Primero Mining Corp., 938 F.3d 1085,
15   1093 (9th Cir. 2019). Unlike in Du Daobin v. Cisco Systems, Inc., where the claims required a finding
16   “that the Chinese government, with substantial assistance from Cisco, has engaged in multiple
17   violations of international law,” 2 F. Supp. 3d 717, 726 (D. Md. 2014), NSO would be liable under
18   U.S. law even if its customers’ actions were valid under foreign law.
19   III. NSO IS LIABLE ON PLAINTIFFS’ CFAA CLAIMS
20          As demonstrated in Plaintiffs’ Motion, NSO violated the CFAA when it accessed
21   WhatsApp’s servers and target devices without authorization or in excess of any purported
22   authorization. NSO does not and cannot dispute that
23

24                                                                        , Dkt. No. 401 at 15-17;
25

26                                                              id. at 17-18; and
27

28                                                                                  , id. at 18-19.
                                                        20
     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT OR PARTIAL SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH          Document 422        Filed 10/11/24     Page 28 of 33




 1                             does not whitewash any of NSO’s unlawful conduct.
 2          A. Discovery Confirms NSO Accessed WhatsApp’s Servers Without Authorization
 3          The Court’s Order on NSO’s motion to dismiss concluded that the complaint did not state a
 4   “without authorization” claim as to WhatsApp’s servers, based on the understanding that NSO
 5   implemented its attacks by “send[ing] messages using the WhatsApp app.” Dkt. No. 111 at 37. The
 6   undisputed evidence developed through discovery confirms
 7

 8

 9

10                                           Dkt. No. 1 ¶¶ 35, 53-54; Ex. 5 (Gazneli Dep.) at 161:20-
11   162:3, 298:12-300:23, 301:18-302:19, 304:23-305:19; see also Dkt. No. 401 § II.A.2.a. NSO knew
12                                                   , see Ex. 16 (PX2033) at -959,
13

14                                                    Ex. 5 (Gazneli Dep.) at 161:20-162:3, 278:16-23.
15   “[D]eceit vitiates consent,” Theofel v. Farey-Jones, 359 F.3d 1066, 1073 (9th Cir. 2004), and NSO’s
16                                              is not a defense. See Nosal II, 844 F.3d at 1035.
17          It therefore makes no difference that
18

19                                                                        . NSO provides no evidence of
20   any general authorization “to access WhatsApp’s servers.” Br. at 21. As this Court recognized, “[b]y
21   creating WhatsApp accounts and accepting the terms of service, defendants, as is true of any
22   WhatsApp user, had authorization to send messages using the WhatsApp app.” Dkt. No. 111 at 37.
23   The Terms only provide authorization “to use our Services”—defined as “our apps, services,
24   features, software, or website”—not to use WhatsApp’s servers by any means. Ex. 13 (WA-NSO-
25   00014825) at -825, -828. That is confirmed on a technological level, because the authentication keys
26   needed to access WhatsApp servers are created when the Official Client is downloaded, installed,
27   and registered. Ex. 3 (Gheorghe Dep.) at 135:20-140:1.
28          In addition, discovery has revealed new and previously unknown facts that
                                                        21
     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT OR PARTIAL SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH          Document 422        Filed 10/11/24     Page 29 of 33




 1

 2                                             .   See Dkt. No. 401 § II.A.2.b-c.      NSO admits
 3

 4            See Ex. 5 (Gazneli Dep.) at 254:2-259:9.
 5                                          Id. at 254:2-258:16.                                      Ex. 5
 6   (Gazneli Dep.) at 262:2-263:9. Plaintiffs also
 7             see Exs. 41 & 42 (WA-NSO-00192176); Ex. 12 (SHANER_WHATSAPP_00001480) at -
 8   481, and filed this lawsuit, Dkt. No. 1. Yet, NSO admits
 9                                                                          . See Ex. 5 (Gazneli Dep.) at
10   270:16-271:13. “[U]nauthorized access” includes “getting into the computer after categorically
11   being barred from entry,” Nosal II, 844 F.3d at 1034-36, and “technological gamesmanship . . . will
12   not excuse liability.” Facebook, Inc. v. Power Ventures, Inc., 844 F.3d 1058, 1067 (9th Cir. 2016).
13          B. This Court Can Still Consider Plaintiffs’ “Without Authorization” Theory
14          NSO argues that the Court’s Order concluding that Plaintiffs’ complaint had not adequately
15   alleged a “without authorization” theory, Dkt. No. 111, “forecloses” NSO’s liability on any “without
16   authorization” theory regardless of the evidence. 14 Br. at 21. Not so. Courts deem new evidence to
17   be “part of the complaint” where the other party was on notice of the theory and there was no
18   prejudice, undue delay, bad faith, or dilatory motive. In re JDS Uniphase Corp. Sec. Litig., 2007 WL
19   2429593, at *5-6 (N.D. Cal. Aug. 24, 2007). NSO had clear notice that Plaintiffs were exploring
20   their “without authorization” theory in discovery. 15 And of course, NSO has long known that
21                                                                                       .
22          NSO’s cases only concern attempts to revive meritless claims, without new evidence. See
23   Chronic Tacos Enters., Inc. v. Chronic Tacos Huntington Beach, Inc., 2011 WL 6010265, at *2 (C.D.
24   Cal. Nov. 28, 2011); City of L.A. v. Bank of Am. Corp., 2015 WL 4880511, at *5 (C.D. Cal. May 11,
25
     14
       The Court sustained Plaintiffs’ “without authorization” theory as to the target devices (Dkt. No.
26   111 at 39-40), and NSO does not dispute that they were accessed without authorization. Br. at 20.
     15
       See, e.g., Dkt. No. 235-2 at 2, 10-11 (seeking information regarding “without authorization”
27   claim); Dkt. No. 319-2 at 1-2, app’x A (same); Dkt. No. 235-4, Ex. M at 2 (seeking “the
     TECHNOLOGY used in the RELEVANT SPYWARE to communicate with WhatsApp”).
28
                                                        22
     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT OR PARTIAL SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH          Document 422        Filed 10/11/24     Page 30 of 33




 1   2015). Plaintiffs’ meritorious “without authorization” claim is backed by legal authority and
 2   undisputed evidence. To the extent necessary, Plaintiffs respectfully request that the Court either
 3   deem the pleadings amended to conform to the evidence or grant reconsideration to revisit this issue
 4   on this full record. Desertrain v. City of Los Angeles, 754 F.3d 1147, 1154 (9th Cir. 2014) (holding
 5   that new claims raised at summary judgment “should be allowed . . . by amendment”); JDS Uniphase,
 6   2007 WL 2429593, at *5-6 (“deem[ing]” new alleged misstatements “part of the complaint”).
 7          C. NSO Exceeded Any Purported Authorization
 8          Even if NSO had any authorization, NSO exceeded it by circumventing limitations built into
 9   the Official Client and WhatsApp’s servers. This admitted conduct was not merely a “violation of
10   the terms of use . . . without more,” as NSO contends (Br. at 22), but a circumvention of
11   “technological (or ‘code-based’) limitations on access,” Van Buren, 593 U.S. at 390 n.8.
12          NSO first circumvented the technological limitations built into the Official Client. WhatsApp
13   “designed it[s code] and . . . wrote it, assuming that the messages being sent are a part of the
14   WhatsApp network and that they’re official clients built by the WhatsApp team.” Ex. 3 (Gheorghe
15   Dep.) at 279:25-280:10. NSO circumvented those code-based limitations by
16

17        Ex. 5 (Gazneli Dep.) at 298:12-300:23, 301:18-302:19, 304:23-305:19.
18          NSO also circumvented the servers’ technological limitations. NSO knew
19                                                                                                  Ex. 8
20   (PX2007) at -098. Finding new ways to engage in the same activity is not
21                                           as NSO claims. Br. at 23; see also United States v. Phillips,
22   477 F.3d 215, 220 (5th Cir. 2007) (“finding ‘holes in . . . programs,’ . . . amounts to obtaining
23   unauthorized access” (quoting United States v. Morris, 928 F.2d 504, 510 (2d Cir. 1991))). Unlike
24   the IT worker in Abu v. Dickson, who “lack[ed] notice that his access [was] unauthorized,” 107 F.4th
25   508, 516 (6th Cir. 2024), NSO
26                      Ex. 16 (PX2033) at -958-60; Ex. 5 (Gazneli Dep.) at 206:12-208:15.
27          By circumventing these technological limitations on access, NSO was able “to obtain or alter
28   information in the computer that [NSO] was not entitled so to obtain or alter.”            18 U.S.C.
                                                        23
     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT OR PARTIAL SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH          Document 422         Filed 10/11/24     Page 31 of 33




 1   § 1030(e)(6). Van Buren does not require proof that NSO accessed parts of WhatsApp’s servers that
 2   it could not with the Official Client, as NSO argues (Br. at 22-23), but merely that it “obtains
 3   information located in particular areas of the computer—such as files, folders, or databases—that
 4   are off limits to [NSO].” 593 U.S. at 396. That information need not come from the servers alone,
 5   because the CFAA prohibits using unauthorized access to “a computer” to obtain information from
 6   “any protected computer,” not necessarily the same computer, 18 U.S.C. § 1030(a)(2)(C), (4); see
 7   also Morris, 928 F.2d at 511; Dkt. No. 401 at 21-22. In any event, the CFAA defines “computer” to
 8   “include[ ] any data storage facility or communications facility directly related to or operating in
 9   conjunction with such device.” 18 U.S.C. § 1030(e)(1); see Nosal II, 844 F.3d at 1032 n.2; Dkt. No.
10   401 at 22. NSO admits that,
11

12

13                                                                    Ex. 5 (Gazneli Dep.) at 294:10-15;
14   300:24-304:22; 306:12-307:15. NSO also admits
15

16                       see id. at 189:25-194:5, a
17           , see id. at 158:14-160:17. And of course,
18                                                                     See Ex. 27 (Shaner Dep.) at 123:3-
19   23, 193:4-195:14, 296:6-298:16; Dkt. No. 1-1, Ex. 10; Ex. 43 (Defs.’ Resps. to Pls.’ First RFAs) at
20   13-16. NSO is therefore liable even under an “exceeds authorized access” theory.
21          D. NSO Cannot Evade Liability Based on a “Law Enforcement Defense”
22          NSO claims that                                        , and therefore it cannot be liable for
23   maintaining Pegasus afterwards. NSO fails to prove                                          NSO has
24   not
25                                                          , Ex. 30 (DiVittorio Dep.) at 264:7-18,
26                                                                                                    . See
27   Akro. Decl., Ex. N, O. NSO therefore cannot show                                                     .
28   A government contract provides a defense only if “(1) the United States set forth ‘reasonably precise
                                                        24
     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT OR PARTIAL SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH            Document 422      Filed 10/11/24      Page 32 of 33




 1   specifications’; (2) ‘the equipment conformed to those specifications’; and (3) the supplier provided
 2   the United States with adequate warnings of the dangers.” Rodriguez v. Lockheed Martin Corp., 627
 3   F.3d 1259, 1266 (9th Cir. 2010).
 4                                                                                                  Akro.
 5   Decl., Ex. N,
 6                                                                                         Ex. 7 (Eshkar
 7   Dep.) at 122:24-125:24; Ex. 35 (Gil Dep.) at 88:25-89:14. There also is no evidence
 8                                                                                                        .
 9   Ex. 9 (Shohat Dep.) at 68:1-16. Furthermore,                                                         .
10   Ex. 39 (PX2045). NSO’s
11                                                                                                     . 16
12   IV. NSO IS LIABLE ON PLAINTIFFS’ CDAFA CLAIM
13          NSO is liable under CDAFA for the same reasons. See supra §§ II, III; Dkt. No. 401 at 25;
14   Meta Platforms, Inc. v. BrandTotal Ltd., 605 F. Supp. 3d 1218, 1260 (N.D. Cal. 2022). NSO
15   concedes that the CDAFA applies if NSO “knowingly access[ed] a computer in California.” Br. at
16   25. There is no dispute that it did.
17                    . See supra § I.B; Ex. 15 (WA-NSO-00166473); Ex. 3 (Gheorghe Dep.) at 206:8-
18   19; Ex. 5 (Gazneli Dep.) at 258:6-22. NSO had
19

20                . See supra § I.B. In addition, NSO also knowingly used the California-based QuadraNet
21   server over 700 times. See supra § I.C.2; Dkt. No. 55-2. There is therefore a “‘sufficient nexus
22   between California and [NSO’s] alleged wrongful conduct’ to permit application of California law.”
23   Br. at 25 (quoting Nowak v. Xapo, Inc., 2020 WL 6822888, at *6 (N.D. Cal. Nov. 20, 2020)).
24                                             CONCLUSION
25          For the foregoing reasons, the Court should deny NSO’s motion for summary judgment.
26

27   16

28
                                                        25
     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT OR PARTIAL SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH         Document 422        Filed 10/11/24     Page 33 of 33




      Dated: October 11, 2024                    Respectfully Submitted,
 1

 2                                               DAVIS POLK & WARDWELL LLP

 3                                               By: /s/ Micah G. Block
 4                                                   Greg D. Andres
                                                     Antonio J. Perez-Marques
 5                                                   Craig T. Cagney
                                                     Gina Cora
 6                                                   Luca Marzorati
                                                       (admitted pro hac vice)
 7
                                                     DAVIS POLK & WARDWELL LLP
 8                                                   450 Lexington Avenue
                                                     New York, New York 10017
 9                                                   Telephone: (212) 450-4000
                                                     Facsimile: (212) 701-5800
10                                                   Email: greg.andres@davispolk.com
                                                             antonio.perez@davispolk.com
11
                                                             craig.cagney@davispolk.com
12                                                          gina.cora@davispolk.com
                                                            luca.marzorati@davispolk.com
13
                                                      Micah G. Block (SBN 270712)
14                                                    DAVIS POLK & WARDWELL LLP
15                                                    1600 El Camino Real
                                                      Menlo Park, California 94025
16                                                    Telephone: (650) 752-2000
                                                      Facsimile: (650) 752-2111
17                                                    Email: micah.block@davispolk.com
18                                                    Attorneys for Plaintiffs
19                                                    WhatsApp LLC and Meta Platforms, Inc.

20

21

22

23

24

25

26

27

28
                                                        26
     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT OR PARTIAL SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
